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                       regon                                         Oregon Department of Corrections
                                                                                              Religious Ser\'ices
                                                                                               OSCI Residence 3
                                                                                           3405 Deer Park Dr. SE
                 Kate Brown, Governor                                                           Salem, OR 973 JO
                                                                                            Phone: 503-378-2534
                                                                                              Fax: 503-378-2648

April 27, 2020



AIC Douglas, Damien, SID #10131429
Oregon State Penitentia ry
2605 State St.
Salem, OR 97310



Dear Damien Douglas,

This letter is in response t o your Final Grievance Appeal, #OSP-2020-02 -016AA, in w hich you allege you
have never been asked to keep the noise down during a religious services activity.

I have reviewed your appea l, as well as all prior documentation relating to this grievance. Not only
volunteers, as you mentioned, but Chaplains from the department' s Religious Se rvices Unit have had
to respond to this event and have asked the Adults in Custody to quiet down and refrain from vulgar
language. OAR 291-143-0130 allows the Department of Corrections to restrict religious services
activities when deemed necessary.

Thank you for addressing your concerns appropriately. This concludes the grievance review process for
this matte r.




Da ryl Borello
Administrator



cc:     A. Kidwell, Grievance Coordinator                                 SENT
                                                                       APR 3 O2020
                                                               OSP/ MCCF GRIEVANCE OFFICE




                     Dameion Douglas (AIC), SID #10131429 v Thompson, et al, USDC 6:20-cv-00546-AA
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      Last                              First                             Initial                  SID#                        Cell/Block/Bunk#


List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
attach original grievance form and staff response . For the final appeal, attach the initial appeal form and response as well as the

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original grievance and response.)

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Describe what action you want taken to resolve the grievance appeal if different from original grievance submission .

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Date                                                                                               Signature

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                     regon                                            Oregon Department of Corrections
                                                                                               Religious Services
                                                                                                OSCI Residence 3
                                                                                            3405 Deer Park Dr. SE
               Kate Brown, Governor                                                             Salem, OR 973 10
                                                                                             Phone: 503-3 78-2534
                                                                                               Fax: 503-3 78-2648

March 13, 2020



AIC Douglas, Damien, SID #10131429
Oregon State Penitentiary
2605 State St.
Salem, OR 97310



Dear Mr. Douglas,

This letter is in response to your Initial Grievance Appeal, #OSP_2020_02_016A, in which you claim
there is no safety or security concern with NOi Jummah Prayer.

I have reviewed your appeal, as well as all prior documentation relating to this grievance. On occasion,
the Adults in Custody (AICs) at Jummah Prayer were being loud and using inappropriate language. Both
Chaplain Stahlnecker and. Chaplain Thompson, from their respective offices, could hear loud voices
coming from the room . Chaplain Stahlnecker had to leave his other duties to come tell the group to
quiet down. There were also reports from volunteers in the rooms nearby that stated that this group
has been loud a number of times and they had to leave their service to ask the group to quiet down. This
type of behavior is not permitted in the chapel area . At the chapel, it is our expectation that all AICs
show respectful behavior and respect the space of others.

According to OAR 291-143-0130 Restriction of Religious Activity/Items: An inmate's participation in
approved religious activities and possession of approved religious items may be restricted by the
Department of Corrections when deemed necessary to maintain facility security, safety, health and
order, or to further inmate rehabilitation or other penological interest, consistent with applicable legal
standards. Staff and volunteers that must leave their station to deal with a disruptive group does create
a potential security risk in the chapel. Temporary suspension of the service was appropriate, based on
AIC continued disruptive behavior. In consultation with our Islamic advisor, sending the weekly khutba
to read in cell is an alternative when the group services cannot be accommodated.

Thank you for addressing your concerns appropriately.



s;;;,f\~
Stuart Young V   r~
                                                                                         SENT
                                                                                     MAR 23 2020
Assistant Administrator                                                       OSP/MCCF GRIEVANCE OFFICE




cc:     A. Kidwell, Grievance Coordinator




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List in detail all the reasons you disagree with the original grievance response or initial appeal response. (For the initial appeal,
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original grievance and response.)

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Describe what action you want taken to resolv                he grievance appeal if different from original grievance submission .
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Date                                                                                               Signature

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                                                         GRIEVANCE RESPONSE FORM


    TO BE FILLED OUT BY STAFF                                                                     Grievance: #OSP_2020_02_016

    TO:         Douglas, Dameion                                                10131429
                Name of grievant                                                   SID#

    FROM: Karuna Thompson & Dennis Stahlnecker                                  Chaplains
          Name of respondent                                                       Title

 List, in detail, action(s) taken. (What action was taken? Was the action what the inmate requested? If not, wtiy? Who
 took the action? When was the action taken-date/time?)



On December 31st, due to noise issues and issues of disrespectful language at a high volume continuing from August of
2019 through December of 2019 the Nation of Islam group was suspended due to safety and security concerns. Because
this was a group issue and not the behavior of a single individual the whole group was suspended. During the suspension
each individual on the roster Is being sent the weekly khutba (prayer) and is being provided opportunity to shower at mid-
day before they say their prayers. The only suspension is the corporate prayer that has caused continuous disturbance. It
is our intention to provide the least restrictive means of practice for members of this community that adhere to the safe
and secure operations of our area. Attached please find a copy ofthe memo sent to all men on the roster.




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                                                                                                  Signature of Staff Member

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 (ifnot processing facility)                                                   §~'t<3T t•
                                                                                                  Signature of Supervisor (Pri

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              STATE OF OREGON                                             INTEROFFICE MEMO
              DEPARTMENT OF CORRECTIONS
              OREGON STATE PENITENTIARY




TO:           NOI Community Membe)f I~~ ~
FROM:         Chaplain Karuna ThompW&. Chaplain Dennis Stahlnecker

SUBJECT:      Suspension of NOI.Jumuah Prayer for 90 Days

Due to continuous issues regarding disrespectful language and behaviors in this group it will be suspended
for 90 days. During this time the chapel will send people on the list for the service the weekly Khutba so
that members of the community can perform their prayer independently. When the services resume again
on April 3, 2019 the group will be expected to say their mandatory group prayer, read the khutbah without
discussion and clear the room following the service. No lingering in the room or outside conversation will
be permitted. Attached please find a copy of the Religious Services Department Procedure on Jumuah
Prayer.                                                                ·




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                                     Oregon Department of Corrections
                                                  Religious Services Procedure

                                    Procedure for Chaplains to Coordinate, Facilitate and
         Subject:
                                    Su ervise Islamic Jumuah Pra er Each Frida
         Effective Date:            September 21, 2005
                                    Tom O'Connor Administrator, Religious Services
         Decision Maker(s):         Paula Allen, Chief of Security
                                    Institution Security Managers
         Related Rule·              OAR 291-143: Religious Activities (Inmate)

         Purpose
         Rule 291-143-0070(1) states that a chaplain or designee in each facility shall be responsible for
         the "coordination, facilitation and supervision of inmate religious activities". This functional unit
         procedure provides guidelines for chaplains or their designees to coordinate, facilitate, and
         supervise Jumuah (or Friday) prayer for Muslim inmates. This procedure applies when there
         are no Islamic volunteers available to conduct Jumuah prayer. The procedure represents the
         views of the Oregon Department of Corrections about Jumuah prayer.

         Definitions
         Jumuah Prayer: The word Jumuah means Friday and all Muslims are expected to attend
         Jumuah or Friday prayer. The Holy Quran, the most sacred Islamic text, says "O you who
         believe! When the call is made for Friday prayer, then hasten to the remembrance of Allah and
         leave off business; that is better for you, if you know• (Quran 62:9).

         Khutba: A khutba is a talk or a sermon that is said aloud by a speaker (the khateeb) at Jumuah
         prayer. The khutba should contain at lease one verse from the Holy Quran and one Hadith (or
         saying) from the prophet Muhammad.

         Procedure
            • An ODOC chaplain or designee will coordinate, facilitate, and supervise Jumuah prayer
                 each Friday when: 1) at least three inmates in the facility request Jumuah; and 2) a
                 chaplain or designee ·is available to do so at the facility. When a chaplain or designee is
                 not available, inmates may not "direct, lead, or conduct" Jumuah prayer on their own
                 (Rule 291-143-0070(4)).
             •   The chaplain will assign Muslim inmates, on a rotating basis, to be responsible for
                 different roles or parts In Jumuah. One person does the "call to prayer." One person
                 reads the assigned Khutba. The third person (and anyone else who is present) listens to
                 the Khutba and makes other prayers (or Rakah - standing, bowing, prostrating, and
                 sitting). The chaplain should always seek to assign the khutba and the call to prayer
                 only to inmates who demonstrate pro-social behavior. The person who is chose to read
                 the khutba is not permitted to change it, or discuss its contents during Jumuah.



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   •   Prior to Jumuah each week, a chaplain will obtain a written copy of a khutba from a
       Muslim source recognized by the department
   •   Jumuah must take place in the afternoon during a certain time period that is allotted for
       Jumuah prayer by the Muslim faith.
   •   A staff chaplain or designee will supervise Jumuah prayer as it takes place.
   •   Islamic practice mandates that everyone should remain silent while preparing for and
       during Jumuah prayer. Therefore the chaplain or designee should encourage everyone
       to maintain a respectful silence during Jumuah prayer.




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Name:     IJo'fi,J
           Last
                                         'J:>,.f/(NI,
                                           First                            Initial                   SID#                             Cell/Block/Bunk#

Whom are you grieving:           C,.

List in detail all the reasons for your grievance. (What is the problem? When did it happen - date/time/place?} Attach copies of any
documents or any material(s}, which support your grievance, including the names of any persons you think shou ld be questioned .

        ~,                                                                                                                                       $~~




                                                                                                       Signature

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